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             EXHIBIT A
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JS 44 (Rev. 10/06)
                                                                  CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except
as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September, 1974, is required for the use of the Clerk of Court for
the purpose of initiating the civil docket sheet: (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I (a) PLAINTIFFS                                                                                            DEFENDANTS
           Jose L. Castruita and Gloria Delapaz Castruita                                                   Federal Home Loan Mortgage Corporation
    (b) County of Residence of First Listed Plaintiff: El Paso County, Texas                                County of Residence of First Listed Defendant: Virginia
                              (EXCEPT IN U.S. PLAINTIFF CASES)
    (c) Attorneys (Firm Name, Address, And Telephone Number)                                                Attorneys (If Known)
        Robert Lane, Joshua Gordan, S. Alex Lick, The Lane Law Firm, PLLC                                   Marc D. Cabrera, Elizabeth Hayes
        6200 Savoy Drive, Suite 1150, Houston, TX 77036, T: 713-595-8200                                    Polsinelli PC, 2950 N. Harwood, Suite 2100, Dallas, TX 75201, T: 214-397-0030
II. BASIS OF JURISDICTION                     (Place an "X" in One Box Only)                   III. CITIZENSHIP OF PRINCIPAL PARTIES                                        (Place an "X" in One For Plaintiff
                                                                                                        (for Diversity Cases Only)                                           and One Box for Defendant)

 1 U.S. Government                 3 Federal Question                                                                           PTF DEF                                                       PTF DEF
         Plaintiff                        (U.S. Government Not a Party)                        Citizen of This State              1       1       Incorporated or Principal Place of          4       4
                                                                                                                                                       Business in this State
 2 U.S. Government                 4 Diversity
         Defendant                       (Indicate Citizenship of Parties in Item III)         Citizen of Another State           2       2       Incorporated and Principal Place of         5       5
                                                                                                                                                       Business in Another State

                                                                                               Citizen or Subject of a            3       3       Foreign Nation                              6       6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an "X" in One Box Only)
            CONTRACT                                         TORTS                                     FORFEITURE/PENALTY                          BANKRUPTCY                       OTHER STATUTES
 110 Insurance                      PERSONAL INJURY                     PERSONAL INJURY      610 Agriculture                               422 Appeal 28 USC 158              400 State Reappointment
 120 Marine                        310 Airplane                    362 Personal Injury--  620 Other Food & Drug                          423 Withdrawal                     410 Antitrust
 130 Miller Act                    315 Airplane Product                  Med Malpractice  625 Drug Related Seizure                          28 USC 157                        430 Banks and Banking
 140 Negotiable Instrument           Liability                     ` 365 Personal Injury--   of Property 21 U.S.C. 881                                                         450 Commerce
 150 Recovery of Overpayment       320 Assault Libel &                   Product Liability  630 Liquor Laws                                                                   460 Deportation
                                                                                                                                                PROPERTY RIGHTS
     & Enforcement of                 Slander                        368 Asbestos Personal  640 R R & Truck                                                                    470 Racketeer Influenced and
     Judgment                       330 Federal Employers’                Injury Product     650 Airline Regs                                 820 Copyrights                       Corrupt Organizations
 151 Medicare Act                    Liability                            Liability          660 Occupational                                 830 Patent                      480 Consumer Credit
 152 Recovery of Defaulted         340 Marine                       PERSONAL PROPERTY            Safety/Health                                840 Trademark                   490 Cable/Sat TV
     Student Loans                  345 Marine Product              370 Other Fraud         690 Other                                                                         810 Selective Service
     (Excl. Veterans)                 Liability                      371 Truth in Lending                                                                                       850 Securities/Commodities/
                                                                                                      LABOR                                   SOCIAL SECURITY
 153 Recovery of Overpayment       350 Motor Vehicle               380 Other Personal                                                                                              Exchange
     of Veteran's Benefits          355 Motor Vehicle                     Property Damage  710 Fair Labor Standards                        861 HIA (1395 ff)
                                                                                                                                                                                 875 Customer Challenge
                                                                     385 Property Damage           Act                                      862 Black Lung (923)
 160 Stockholders’ Suits             Product Liability                                                                                                                               12 USC 3410
 190 Other Contracts               360 Other Personal                    Product Liability  720 Labor/Mgmt.                               863 DIWC/DIWW
                                                                                                                                                                                 890 Other Statutory Actions
                                                                                                    Relations                                     (405(g))
 195 Contract Product Liability      Injury
                                                                                              730 Labor/Mgmt.                               864 SSID Title XVI                 891 Agricultural Acts
 196 Franchise                                                                                     Reporting &                              865 RSI (405(g))                   892 Economic Stabilization Act
                                                                                                    Disclosure Act                                                               893 Environmental Matters
       REAL PROPERTY                    CIVIL RIGHTS                PRISONER PETITIONS                                                       FEDERAL TAX SUITS
                                                                                              740 Railway Labor Act                                                             894 Energy Allocation Act
 210 Land Condemnation             441 Voting                      510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff          895 Freedom of Information
                                                                                              790 Other Labor
 220 Foreclosure                   442 Employment                      Sentence                                                                 or Defendant)                       Act
                                                                                                    Litigation
 230 Rent Lease & Ejectment        443 Housing/                     Habeas Corpus                                                          871 IRS--Third Party               900 Appeal of Fee
                                                                                              791 Empl. Ret. Inc.
 240 Torts to Land                       Accommodations             530 General                                                                 26 U.S.C. 7609                      Determination Under Equal
                                                                                                    Security Act
 245 Tort Product Liability        444 Welfare                     535 Death Penalty                                                                                               Access to Justice
 290 All Other Real Property       445 Amer. w/Disabilities        540 Mandamus &                                                                                             950 Constitutionality of State
                                          – Employment                   Other                                                                                                        Statutes
                                    446 Amer. w/Disabilities        550 Civil Rights
                                          - Other                    555 Prison Condition
                                    440 Other Civil Rights
V. ORIGIN                          (Place an "X" in One Box Only)
1        Original     2     Removed from     3        Remanded from         4        Reinstated or        5       Transferred from          6         Multidistrict        7      Appeal to District Judge
          Proceeding          State Court                Appellate Court                 reopened                      another district                     Litigation                   from Magistrate
                                                                                                                       (specify)                                                         Judgment
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):   12 USC § 1452(f); 28 USC § 1332
VI. CAUSE OF ACTION
                                           Brief description of cause:   Plaintiffs assert claims relating to real property.
VII. REQUESTED IN                  CHECK IF THIS IS A CLASS ACTION                          DEMAND                                                CHECK YES only if demanded in complaint
     COMPLAINT:                    UNDER F.R.C.P 23                                                                                                 JURY DEMAND:  YES  NO

VIII. RELATED CASE(S)
      IF ANY          (See instructions)                         JUDGE ___________________                                                   DOCKET NUMBER ____________

 DATE                                                                                  SIGNATURE OF ATTORNEY OF RECORD
June 18, 2020                                                                          /s/ Elizabeth Hayes
FOR OFFICE USE ONLY
Receipt # _______________ Amount ______________ APPLYING IFP ______________ JUDGE __________________ MAG. JUDGE _________________________
